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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA
UNITED STATES OF AMERICA :
v. : CRIM. NO. 21-474

JOHN MURRAY ROWE, JR.

CIPA SCHEDULING ORDER
AND NOW, upon consideration of the parties’ joint motion for a scheduling order for
certain contemplated proceedings under the Classified Information Procedures Act, 18 U.S.C.
App. 3 (“CIPA”), it is ORDERED AND DECREED that the parties’ motion is GRANTED and
the following deadlines shall apply in this case:

1, January 10,2024 The Defendant shall file a written notice pursuant to CIPA Section
5(a) specifying the classified information he reasonably expects to disclose at trial.

2. January 31,2024 The Government shall! file its response to the Defendant’s notice.

3. February 7,2024 The Defendant shall file his reply in support of his notice.

4, February 14, 2024 The Court shall hold an in camera hearing pursuant to CIPA
Section 6(a) to make all determinations concerning the use, relevance, or admissibility
of such classified information noticed by the Defendant pursuant to CIPA Section S(a)
and/or noticed by the Government pursuant to CIPA Section 6(b).

5. March 6, 2024 — The Government shall file its motion pursuant to CIPA Section
6(c)(1) for an order substituting whatever classified information the parties expect to
disclose at trial,

6. March 20, 2024 — The Defendant shall file a response to the Government’s motion.
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7. March 27,2024 The Government shall file its reply.
8. April3,2024 The Court shall hold an in camera hearing regarding the
Government’s motion pursuant to CIPA Section 6(c)(1).
If the parties agree on what classified information they expect to be disclosed at trial, the deadlines

set forth in items 1-4 will be moot, and the CIPA proceedings wil! go forward as set forth in items

SO ORDERED, nh I%, of December 2023.

BY THE COURT:

5-8.

CLMoo

HO}. GENE E. K. PRATTER
Uni ates District Court Judge

